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                     IN THE UNITED STATES DISTRICT COURT FOR THE
                             MIDDLE DISTRICT OF ALABAMA
                                  NORTHERN DIVISION

SHERMAN ANTWAN BROADHEAD,                       )
AIS # 246842                                    )
                                                )
        Plaintiff,                              )
                                                )
v.                                              )   Case No: 2:16-CV-00064-MHT-SRW
                                                )
SGT. KENDRICK BOYD, et al.,                     )
                                                )
        Defendant.                              )


                             PLAINTIFF’S MOTION IN LIMINE


        COMES NOW, the Plaintiff, by and through counsel, Clay M. Phillips of Clay Phillips

Law Firm, LLC, and hereby makes this motion for the court to exclude the following evidence

from the evidentiary hearing and bench trial:

     1. Any evidence of any incidences that involved the Plaintiff that occurred before March of

        2014. This includes any disciplinary Reports from any incidences that occurred before

        March of 2014.

     2. Any evidence of any incidences that involved the Plaintiff that occurred after March of

        2014 that are unrelated to the incident that occurred on March 5, 2014. This includes any

        disciplinary Reports from any incidences that occurred after March of 2014.

     3. Any evidence of any prior convictions.

        There are many reasons why the above evidence should be excluded from the evidentiary

hearing and trial. The above evidence is irrelevant as to whether or not the defendants in this

case used excessive force on the Plaintiff and/or failed to protect plaintiff against the use of

excessive force on March 5, 2014 thereby violating the Plaintiff’s Eighth Amendment right
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against cruel and unusual punishment. In addition, any probative value provided by the above

evidence is substantially outweighed by a danger of unfair prejudice, confusing the issues,

misleading the judge/jury, undue delay, and wasting time.

       Therefore, the Plaintiff requests that the Court order that the above evidence be excluded

from the evidentiary hearing and trial.

               RESPECTFULLY SUBMITTED, this the 27th day of August 2019.

                                                    /s/ Clay M Phillips
                                                    Clay M Phillips
                                                    Counsel for Plaintiff
                                                    Clay Phillips Law Firm, LLC
                                                    341 Mendel Parkway East
                                                    Montgomery, Alabama 36117
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                                                    clay@clayphillipslaw.com
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                                CERTIFICATE OF SERVICE

       I hereby certify that a copy of the above and foregoing has been served on the defendant

by electronically filing with the Court thru the Court’s ECF system on this the 27th day of

August 2019.



                                                    /s/ Clay M Phillips
                                                    Clay M Phillips
                                                    Counsel for Plaintiff
                                                    Clay Phillips Law Firm, LLC
                                                    341 Mendel Parkway East
                                                    Montgomery, Alabama 36117
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